                             IN THE UNITED STATE DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE


 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )       No. 3:07-CR-51
 v.                                                    )       (PHILLIPS/SHIRLEY)
                                                       )
 CASSIE McKENZIE,                                      )
                                                       )
                Defendant.                             )


                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the district

 court as may be appropriate. This criminal action came before the undersigned on August 28, 2007,

 for a hearing based on defendant McKenzie’s letter to the Court, docketed as a pro se Motion to

 Suppress and/or to withdraw guilty plea. [Doc. 179.] Assistant United States Attorney Tracee

 Plowell was present representing the government. Attorney Stephen Johnson was present

 representing defendant McKenzie, who was also present.

                At the hearing, Mr. Johnson represented to the Court that there had been a

 miscommunication between defendant and counsel, causing defendant to file the instant letter. Mr.

 Johnson further represented that he has since cleared up any confusion on the part of defendant and

 that Mr. Johnson is currently in the process of determining what the best course of action would be

 in the instant case. Mr. Johnson advised the Court that if any additional motions are needed in this

 case, such as a motion to suppress or a motion to withdraw guilty plea, then he would make those


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 motions at the appropriate time. The Court confirmed with defendant McKenzie that she is satisfied

 with the representation provided by Mr. Johnson and did not intend her letter to rise to the level of

 a pro se motion, and that she is not currently seeking to withdraw her guilty plea nor currently

 seeking to suppress any statements.

                Therefore, the Court finds that the document filed by defendant McKenzie [Doc. 179]

 was intended only as a status letter to the Court, not as a pro se motion. The Court notes that the

 letter was, in an abundance of caution, docketed as a motion in the Court’s electronic filing system.

 Accordingly, for administrative purposes, the Clerk of the Court is DIRECTED to terminate the

 motion in the CM-ECF system and indicate that Document 179, filed by defendant McKenzie, was

 intended to be filed as a letter, not a motion. Given that defendant McKenzie never intended to file

 a pro se motion, the termination of the “motion” in this manner in no way prejudices defendant

 should she seek to file an actual motion through counsel.

                IT IS SO ORDERED.


                                                       ENTER:


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




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